Case 8:22-cv-00310-CJC-ADS Document 30 Filed 05/17/22 Page 1 of 2 Page ID #:513




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. SACV 22-00310-CJC(ADSx)                                    Date: May 17, 2022

 Title: KENT SALVESON V. HALL ROSS KESSLER



 PRESENT:

      HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

      Rolls Royce Paschal                                     N/A
         Deputy Clerk                                     Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:               ATTORNEYS PRESENT FOR DEFENDANT:

         None Present                                     None Present

 PROCEEDINGS: (IN CHAMBERS) ORDER DENYING DEFENDANT’S EX
 PARTE APPLICATION TO STAY PROCEEDINGS [Dkt. 29]


 On May 17, 2022, Defendant filed an ex parte application to stay these proceedings based
 on his appeal of this Court’s order denying his anti-SLAPP motion. (Dkt. 29.)
 Defendant wants this case stayed before the June 27, 2022 hearing on Plaintiff’s motion
 for attorney’s fees in relation to Defendant’s anti-SLAPP motion. (Dkt. 25.) According
 to Defendant, it was appropriate to file his stay application ex parte because “[t]here is
 simply not sufficient time to have a regularly scheduled motion for stay be heard” in light
 of the impending hearing on Plaintiff’s fee application. (Dkt. 29 at 4.) However, the
 common practice for this Court, consistent with this District’s local rules, is to hear
 motions 28 days after they are filed. Defendant could easily file a regularly noticed
 motion to stay and set it for hearing on June 27, 2022 (the cutoff for that hearing date
 would be Monday, May 30, 2022). The Court would entertain the fee application and
 motion to stay on the same day, and of course, refrain from deciding the fee application if
 it grants a stay. If Defendant simply desires to avoid filing an opposition to Plaintiff’s fee
 application, that is not good enough reason for ex parte relief.

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Case 8:22-cv-00310-CJC-ADS Document 30 Filed 05/17/22 Page 2 of 2 Page ID #:514



                         UNITED STATES DISTRICT COURT
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                                                                Page 2

 Defendant’s ex parte application is DENIED because it is not appropriate to proceed on
 an ex parte basis here. Defendant can, of course, seek a stay in a regularly noticed
 motion. He has ample time to do so.

 MINUTES FORM 11
 CIVIL-GEN                                                       Initials of Deputy Clerk RRP
